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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF FLORIDA
                                    GAINESVILLE DIVISION
    JAMES MAYBERRY,

               Plaintiff,
    v.
                                                      CASE NO.: 1:17-cv-00162-MW-GRJ
    OPTIMUM OUTCOMES, INC.,

               Defendant.




         PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
              PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)


           Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff, James Mayberry, by and

through his undersigned counsel, respectfully asks this Court to enter an order of Voluntary

Dismissal without Prejudice, in this matter.

                                               Respectfully submitted,

                                               /s/ Amanda J. Allen, Esq.
                                                  Amanda J. Allen, Esquire
                                                  Florida Bar No. 98228
                                                  Amanda@TheConsumerProtectionFirm.com
                                                  The Consumer Protection Firm, PLLC
                                                  210 A South MacDill Avenue
                                                  Tampa, FL 33609
                                                  Tele: (813) 500-1500
                                                  Fax: (813) 435-2369
                                                  Attorney for Plaintiff

                                     CERTIFICATE OF SERVICE

I HEREBY CERTIFY that, on August 27, 2017, the foregoing was filed upon the parties using
the CM/ECF system. Respectfully	submitted,	
	
	          	          	     	    	      	      /s/ Amanda J. Allen, Esq.
                                                  Amanda J. Allen, Esquire

	


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